         Case
          Case2:16-cr-00030-JAD-CWH
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     SUSAN CUSHMAN
     Assistant United States Attorney
 3   501 Las Vegas Boulevard South
     Suite 1100
 4   Las Vegas, Nevada 89101
     702-388-6336
 5
                         UNITED STATES DISTRICT COURT
 6
                              DISTRICT OF NEVADA
 7                                                   -oOo-

 8   UNITED STATES OF AMERICA,                         )
                                                       )   Case No.: 2:16-cr-0030-JAD-CWH
                      Plaintiff,                       )
 9                                                     )   STIPULATION TO CONTINUE
                                                       )   SENTENCING
10          vs.                                        )   (First Request)
                                                       )
11   JULIAN CRUZ-FLORES,                               )
                                                       )
12                    Defendant.                       )
                                                       )
13                IT IS HEREBY STIPULATED AND AGREED, by and between Daniel Bogden,

14   United States Attorney; Susan Cushman, Assistant United States Attorney, counsel for the United

15   States of America and Mace Yampulsky, Esq. counsel for defendant, that sentencing in the above-

16   captioned matter currently scheduled to commence on Tuesday, January 3, 2017, at 9:00 a.m. be

17   vacated and continued to a date and time convenient to all parties, but no earlier than 60 days.

18
                  This Stipulation is entered into for the following reason:
19
                  1. The parties need additional time to determine whether the defendant meets the
20
     criteria set for group plea reduction pursuant to United States v. Caro,997F.2d 657 (9th Cir. 1993).
21
                  2. The parties agree to the continuance.
22

23                3. The defendant is in custody and does not object to the continuance.

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     Case
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 1        4. This is the first request to continue the sentencing.

 2        DATED this 20th day of December, 2016.

 3                                          Respectfully submitted,

 4                                          DANIEL G. BOGDEN
                                            United States Attorney
 5
                                            /s/ Susan Cushman
 6                                          __________________________
                                            SUSAN CUSHMAN
 7                                          Assistant United States Attorney

 8                                          /s/ Mace Yampulsky
                                            __________________________
 9                                          MACE YAMPULSKY
                                            Counsel for Defendant
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 2                     UNITED STATES DISTRICT COURT
 3                          DISTRICT OF NEVADA
                                                  -oOo-
 4
     UNITED STATES OF AMERICA,                       )
 5                                                   ) Case No.: 2:16-cr-0030-JAD-CWH
                    Plaintiff,                       )
                                                     ) ORDER TO CONTINUE
 6                                                   ) SENTENCING
            vs.                                      )
 7                                                   )
     JULIAN CRUZ-FLORES,                             )
 8                                                   )
                    Defendant.                       )
 9                                                   )

10          Based on the pending Stipulation of counsel, and good cause appearing therefore, the

11   Court hereby orders that sentencing in the above-captioned matter be vacated and continued until

12   _______________________________
     March 6, 2017 at the hour of 10:00 at the hour of __________ .m.
                                        a.m.

13       DATED thisthis
           DATED     20th day
                        ____   ofof
                             day  December,
                                    December, 2016.
                                              2016.

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15                                               ________________________________
                                                 UNITED STATES DISTRICT JUDGE
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